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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE




William Hilton

       v.                                     Case No. 07-cv-292-PB

Androscoggin Valley Hospital, et al.


                                       JUDGMENT


       In accordance with the Orders by Judge Paul Barbadoro dated December 20, 2007,

April 3, 2008 and April 8, 2008, judgment is hereby entered.



                                              By the Court,


                                              /s/ James R. Starr
                                              James R. Starr, Clerk
April 10, 2008

cc:    Counsel of Record
